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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CHUANAQI LIU, an individual Case No.: 2-22cv 00367 CCW

Plaintiff,
VS.

FOUJOY, YBEKI, LINGMAI, SUNJOYCO,
FANCYES, AUCARKEE, DAWAY,
MONDAY, LAUS, SIHMQIK, NEUFLY,
ACCOT, SGODDE, NOVASHION,
EBIKELING, IPOW, NONBRAND, YQ&TL,
WUSUOWEI, GAODINGD and DAOZX
Individuals, Partnerships and Individuals,
Partnerships and Unincorporated Associations
as identified on Schedule A,

Defendants.

Statement of Plaintiff Regarding Permission Counsel to Withdraw

| am Chuangi Lui, Plaintiff in this case. | understand that my legal counsel, Patricia Ray
of D&R |.P. Law Firm is requesting to withdraw from representing me. | give my permission for this
withdrawal. While the case has been well done by my lawyer, | am currently contemplating how to move
forward with my business. | have not decided whether it makes sense to spend time and expense on
further legal action. Therefore, | have agreed to release my legal counsel from further duty or
representation concerning this case.

Respectfully,

Gmc 2 1th Chuang 1 Hee oy

Date: January 22, 2023
